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        FEDEX GROUND PACKAGE SYSTEM, INC.
   14

   15                       UNITED STATES DISTRICT COURT
   16          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   17

   18   DOMINIQUE WASHINGTON,                   Case No: 2:19-cv-05226-MCS-KS
   19                     Plaintiff,
                                                JOINT PROPOSED JURY
   20         v.                                INSTRUCTIONS
   21   FEDEX GROUND PACKAGE
        SYSTEM, INC., a Delaware                Complaint Filed: May 14, 2019
   22   corporation; and DOES through 20,       Trial Date:      July 13, 2021
        inclusive,,
   23
                          Defendant.
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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1                        INDEX OF JURY INSTRUCTIONS
    2          Pursuant to this Court’s Order re: Jury Trial (ECF No. 35), Plaintiff
    3   DOMINIQUE WASHINGTON (“Plaintiff” or “Ms. Washington”) and Defendant
    4   FEDEX GROUND PACKAGE SYSTEM, INC. (“Defendant” or “FedEx
    5   Ground”) submit their proposed joint agreed jury instructions:
    6
        NO.     SUBJECT                                SOURCE                    PAGE
    7
         A1.    DUTY OF JURY                           9th Circuit Model
    8
                                                       Civil Jury Instructions
    9                                                  (2017 Edition) (“9th
                                                       Cir.”) 1.3
   10

   11    A2.    CLAIMS AND DEFENSES                    9th Cir. 1.5
   12    A3.    CORPORATIONS AND                       9th Cir. 4.1
   13
                PARTNERSHIPS – FAIR
                TREATMENT
   14
         A4.    LIABILITY OF                           9th Cir. 4.2
   15           CORPORATIONS—SCOPE OF
   16           AUTHORITY NOT IN ISSUE
   17    A5.    BURDEN OF PROOF –                      9th Cir. 1.6
   18           PREPONDERANCE OF THE
                EVIDENCE
   19
         A6.    WHAT IS EVIDENCE                       9th Cir. 1.9
   20

   21    A7.    WHAT IS NOT EVIDENCE                   9th Cir. 1.10
   22    A8.    DIRECT AND CIRCUMSTANTIAL 9th Cir. 1.12
                EVIDENCE
   23

   24    A9.    RULING ON OBJECTIONS                   9th Cir. 1.13
   25    A10. CREDIBILITY OF WITNESSES                 9th Cir. 1.14
   26
         A11. CONDUCT OF THE JURY                      9th Cir. 1.15
   27
         A12. NO TRANSCRIPT AVAILABLE                  9th Cir. 1.17
   28

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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1
        NO.   SUBJECT                              SOURCE                  PAGE
    2
              TO JURY
    3
        A13. TAKING NOTES                          9th Cir. 1.18
    4
        A14. QUESTIONS TO WITNESSES BY             9th Cir. 1.19
    5
             JURORS
    6
        A15. USE OF INTERROGATORIES OF             Judicial Council of
    7        A PARTY                               California Civil Jury
    8                                              Instructions (2018
                                                   Edition) (“CACI”) 209
    9

   10   A16. REQUESTS FOR ADMISSION                CACI 210

   11   A17. BENCH CONFERENCES AND                 9th Cir. 1.20
             RECESSES
   12

   13   A18. OUTLINE OF TRIAL                      9th Cir. 1.21

   14   B1.   DUTY OF JURY                         9th Cir. 1.4
   15   B2.   CLAIMS AND                           9th Cir. 1.5
   16         DEFENSES
   17   B3.   LIABILITY OF ENTITY                  9th Cir. 4.2
   18
              DEFENDANTS – SCOPE OF
              AUTHORITY NOT IN ISSUE
   19
        B4.   BURDEN OF PROOF                      9th Cir. 1.6
   20         PREPONDERANCE OF THE
   21         EVIDENCE
   22   B5.   WHAT IS EVIDENCE                     9th Cir. 1.9
   23
        B6.   WHAT IS NOT EVIDENCE                 9th Cir. 1.10
   24
        B7.   DIRECT AND                           9th Cir. 1.12
   25
              CIRCUMSTANTIAL EVIDENCE
   26
        B8.   RULING ON OBJECTIONS                 9th Cir. 1.13
   27

   28   B9.   CREDIBILITY OF WITNESSES             9th Cir. 1.14

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                             JOINT PROPOSED JURY INSTRUCTIONS
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    1
        NO.   SUBJECT                              SOURCE                  PAGE
    2
        B10. QUESTIONS TO WITNESSES BY             Adapted from 9th Cir.
    3        JURORS                                1.19
    4
        B11. OPINION TESTIMONY OF A LAY            CACI 223
    5        WITNESS
    6
        C1.   DISABILITY DISCRIMINATION            CACI 2500
    7         DISPARATE TREATMENT –
              ESSENTIAL FACTUAL
    8
              ELEMENTS (Gov. Code, §
    9         12940(a))
   10   C2.   DISABILITY DISCRIMINATION –          CACI 2540
   11         DISPARATE TREATMENT –
              ESSENTUAL FACTUAL
   12         ELEMENTS
   13
        C3.   RETALIATION – ESSENTIAL              CACI 2505
   14         FACTUAL ELEMENTS
              (GOVERNMENT CODE, §
   15
              12940(h))
   16
        C4.   “SUBSTANTIAL MOTIVATING              CACI 2507
   17         REASON” EXPLAINED
   18
        C5.   “SUBSTANTIAL                         CACI 430
   19
              FACTOR” EXPLAINED
   20
        C6.   “ADVERSE EMPLOYMENT                  CACI 2509
   21         ACTION” EXPLAINED
   22
        C7.   BUSINESS JUDGMENT                    CACI 2513
   23
        C8.   BUSINESS JUDGMENT RULE               Cal. Labor Code §
   24
              FURTHER EXPLAINED                    2922; CACI 2513,
   25
        C9.   FAILURE TO PREVENT                   CACI 2527
   26         DISCRIMINATION OR
   27         RETALIATION - ELEMENTS OF
              CAUSE OF ACTION
   28

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    1
        NO.    SUBJECT                             SOURCE                PAGE
    2
        C10. FAILURE TO PROVIDE A                  CACI 2541
    3        REASONABLE
    4        ACCOMMODATION –
             ELEMENTS OF CAUSE OF
    5        ACTION
    6
        C11. “REASONABLE                           CACI 2542
    7        ACCOMMODATION”
    8        EXPLAINED

    9   C12.   INTRODUCTION TO                     CACI 3700
               VICARIOUS RESPONSIBILITY
   10

   11   C13. FAILURE TO ENGAGE IN AN               CACI 2546
             INTERACTIVE PROCESS –
   12        ELEMENTS OF CAUSE OF
   13        ACTION

   14   C14. INTERACTIVE                           CACI 2546
             PROCESS
   15
             OBLIGATIONS
   16        EXPLAINED
   17   C15. “KNOWN” DISABILITY                    CACI 2546
   18        EXPLAINED
   19   C16. WRONGFUL DISCHARGE IN        CACI 2430
   20        VIOLATION OF PUBLIC POLICY -
             ELEMENTS OF CAUSE OF
   21        ACTION
   22

   23   C17. LIMITATION ON REMEDIES -              CACI 2512
   24        SAME DECISION
   25   C18. BUSINESS JUDGMENT RULE                CACI 2513
   26
        D1.    INTRODUCTION TO TORT                CACI 3900 & 3923;
   27          DAMAGES                             9th Cir. 5.1
   28   D2.    SPECULATIVE DAMAGES NOT             California Jury
                                            5
                             JOINT PROPOSED JURY INSTRUCTIONS
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    1
        NO.   SUBJECT                              SOURCE                 PAGE
    2
              PERMITTED                            Instructions – Civil
    3                                              (Spring 2017
                                                   Edition) (“BAJI”)
    4
                                                   14.60
    5
        D3.   DAMAGES MUST BE                      CACI 3900
    6         REASONABLE
    7
        D4.   PUNITIVE                             9th Cir. 5.5
    8         DAMAGES
    9   D5.   AGGRAVATION OF                       CACI 3927
   10         PREEXISTING CONDITION OR
              DISABILITY
   11

   12   D6.   DAMAGES ON                           CACI 3934
              MULTIPLE THEORIES
   13

   14   D7.   WRONGFUL                             CACI 2433
   15         DISCHARGE DAMAGES

   16   D8.   ECONOMIC AND                         CACI 3902
              NONECONOMIC DAMAGES
   17

   18   D9.   ITEMS OF ECONOMIC DAMAGE             CACI 3903 & 3903C
   19   D10. MEDICAL EXPENSES – FUTURE             CACI 3903A
   20
             (ECONOMIC DAMAGE)

   21   D11. PREJUDGMENT INTEREST                  CACI 3935
   22   D12. PRESENT CASH VALUE                    CACI 3904A
   23
        D13. ITEMS OF                              CACI 3905 & 3905A
   24         NONECONOMIC DAMAGE
   25
        D14. UNUSUALLY SUSCEPTIBLE                 CACI 3928
   26        PLAINTIFF
   27
        D15. AVOIDABLE CONSEQUENCES                CACI 2526 (as
   28        DOCTRINE                              modified)
                                            6
                             JOINT PROPOSED JURY INSTRUCTIONS
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    1
        NO.   SUBJECT                              SOURCE                PAGE
    2
        D16. ARGUMENTS OF COUNSEL NOT              CACI 3925
    3        EVIDENCE OF DAMAGES
    4
        D17. DUTY TO MITIGATE (PERSONAL BAJI 14.67
    5        INJURY)
    6
        D18. MITIGATION OF                         CACI 3930
    7         DAMAGES (PERSONAL INJURY)
    8
        D19. AFFIRMATIVE DEFENSE –                 CACI 2407
    9        EMPLOYEE’S DUTY TO
   10
             MITIGATE DAMAGES

   11   D20. EFFECT OF DUTY TO                     CACI 3961 & 3962
             MITIGATE ON DAMAGES
   12

   13   D21. “COMPARABLE JOB”                      CACI 2603
             EXPLAINED
   14
        D22. ATTORNEY FEES AND COURT               CACI 3964
   15
             COSTS
   16
        D23. EXPERT WITNESS TESTIMONY              CACI 219
   17
        D24. EXPERTS-QUESTIONS                     CACI 220
   18
             CONTAINING ASSUMED FACTS
   19
        E1.   DUTY TO DELIBERATE                   9th Cir. 3.1
   20

   21   E2.   CONSIDERATION OF THE                 9th Cir. 3.2
              EVIDENCE – CONDUCT OF THE
   22         JURY
   23
        E3.   COMMUNICATION WITH COURT 9th Cir. 3.3
   24
        E4.   RETURN OF VERDICT                    9th Cir. 3.5
   25
        E5.   CORPORATIONS AND                     9th Cir. 4.1
   26
              PARTNERSHIPS – FAIR
   27         TREATMENT
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                             JOINT PROPOSED JURY INSTRUCTIONS
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    1   Dated: June 7, 2021        EMPLOYEE JUSTICE LEGAL GROUP, P.C.
    2

    3                                By:    /s/Daniel J. Friedman
                                           Kaveh S. Elihu, Esq.
    4
                                           Daniel Friedman, Esq.
    5                                      Attorneys for Plaintiffs
    6

    7
        DATE: June 7, 2021                  FISHER & PHILLIPS LLP
    8

    9
                                      By: /s/Sean F. Daley __________________
   10                                     REGINA A. PETTY
                                          SHAUN J. VOIGT
   11                                     SEAN F. DALEY
                                          Attorneys for Defendant
   12                                     FEDEX GROUND PACKAGE
                                          SYSTEM, INC.
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                              JOINT PROPOSED JURY INSTRUCTIONS
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    1      A. INITIAL SET OF INSTRUCTIONS (GIVEN AFTER VOIR DIRE)
    2

    3                              JURY INSTRUCTION NO. 1
    4                                    DUTY OF JURY
    5           Members of the jury: You are now the jury in this case. It is my duty to
    6   instruct you on the law.
    7           It is your duty to find the facts from all the evidence in the case. To those
    8   facts you will apply the law as I give it to you. You must follow the law as I give
    9   it to you whether you agree with it or not. And you must not be influenced by any
   10   personal likes or dislikes, opinions, prejudices or sympathy. That means that you
   11   must decide the case solely on the evidence before you. You will recall that you
   12   took an oath to do so.
   13           At the end of the trial I will give you final instructions. It is the final
   14   instructions that will govern your duties.
   15           Please do not read into these instructions, or anything I may say or do, that
   16   I have an opinion regarding the evidence or what your verdict should be.
   17   [Source: 9th Circuit Model Civil Jury Instructions (2017 Edition) (“9th Cir.”),
   18   1.3.]
   19

   20                                                  _______        Given
   21                                                  _______        Given as Modified
   22                                                  _______        Withdrawn
   23                                                  _______        Refused
   24
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                                                       ___________________
   26                                                  United States District Judge
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                                   JOINT PROPOSED JURY INSTRUCTIONS
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    1                               JURY INSTRUCTION NO. 2
    2                                CLAIMS AND DEFENSES
    3         To help you follow the evidence, I will give you a brief summary of the
    4   positions of the parties:
    5         Dominique Washington asserts that FedEx Ground terminated her due to
    6   her need to take medical leave from work related to her pregnancy. Ms.
    7   Washington informed FedEx in person and over the phone of her need to take off
    8   work due to pregnancy related illness. Despite this, FedEx Ground completely
    9   disregarded Ms. Washington’s rights and terminated her because it did not want
   10   to deal with accommodating her pregnancy-related medical needs. Ms.
   11   Washington has the burden of proving each of her claims.
   12         FedEx Ground denies each of Ms. Washington’s claims. FedEx Ground
   13   contends that it accommodated Ms. Washington, that it was not aware of Ms.
   14   Washington’s alleged disability at the time of her termination, and that Ms.
   15   Washington was terminated for legitimate, non-discriminatory, non-retaliatory
   16   reasons when Ms. Washington received many unexcused absences from her
   17   scheduled work shifts.
   18         FedEx Ground also asserts certain affirmative defenses to Ms.
   19   Washington’s claims. FedEx Ground contends that, if Ms. Washington can prove
   20   that her termination was actually motivated by both discriminatory and non-
   21   discriminatory reasons, it is not liable because their legitimate reasons for
   22   terminating Ms. Washington, standing alone, would have induced it to make the
   23   same decision at the same time. FedEx Ground further contends that Ms.
   24   Washington could have avoided all or some of her alleged harm by reasonable
   25   effort. FedEx Ground also contends that Ms. Washington has not made a
   26   reasonable effort to minimize her alleged damages. FedEx Ground has the burden
   27   of proof on each of its affirmative defenses.
   28

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                                    JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: 9th Cir. 1.5.]
    2                                                _______         Given
    3                                                _______         Given as Modified
    4                                                _______         Withdrawn
    5                                                _______         Refused
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    7
                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 3
    2           CORPORATIONS AND PARTNERSHIPS—FAIR TREATMENT
    3         All parties are equal before the law and a corporation is entitled to the same
    4   fair and conscientious consideration by you as any party.
    5   [Source: 9th Cir. 4.1]
    6
                                                     _______        Given
    7
                                                     _______        Given as Modified
    8
                                                     _______        Withdrawn
    9
                                                     _______        Refused
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   12                                                United States District Judge
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    2                            JURY INSTRUCTION NO. 4
    3   LIABILITY OF ENTITY DEFENDANTS – SCOPE OF AUTHORITY NOT
    4                                       IN ISSUE
    5         Under the law, a corporation or limited liability company is considered to
    6   be a person. It can only act through its employees, agents, directors, or officers.
    7   Therefore, a corporation or limited liability company is responsible for the acts of
    8   its employees, agents, directors, and officers performed within the scope of
    9   authority.
   10   [Source: 9th Cir. 4.2]
   11                                                _______        Given
   12                                                _______        Given as Modified
   13                                                _______        Withdrawn
   14                                                _______        Refused
   15
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   16
                                                     United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                              JURY INSTRUCTION NO. 5
    2           BURDEN OF PROOF – PREPONDERANCE OF THE EVIDENCE
    3            When a party has the burden of proving any claim [or affirmative defense]
    4   by a preponderance of the evidence, it means you must be persuaded by the
    5   evidence that the claim [or affirmative defense] is more probably true than not
    6   true.
    7            You should base your decision on all of the evidence, regardless of which
    8   party presented it.
    9   [Source: 9th Cir. 1.6]
   10                                                 _______        Given
   11                                                 _______        Given as Modified
   12                                                 _______        Withdrawn
   13                                                 _______        Refused
   14
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   15
                                                      United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 6
    2                                WHAT IS EVIDENCE
    3         The evidence you are to consider in deciding what the facts are consists of:
    4         (1)    the sworn testimony of any witness;
    5         (2)    the exhibits that are admitted into evidence;
    6         (3)    any facts to which the lawyers have agreed; and
    7         (4)    any facts that I [may instruct] [have instructed] you to accept as
    8         proved.
    9
        [Source: 9th Cir. 1.9]
   10
                                                      _______        Given
   11
                                                      _______        Given as Modified
   12
                                                      _______        Withdrawn
   13
                                                      _______        Refused
   14
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   16                                                 United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 7
    2                             WHAT IS NOT EVIDENCE
    3          In reaching your verdict, you may consider only the testimony and exhibits
    4   received into evidence. Certain things are not evidence, and you may not consider
    5   them in deciding what the facts are. I will list them for you:
    6          (1) Arguments and statements by lawyers are not evidence. The lawyers
    7   are not witnesses. What they [may say] [have said] in their opening statements,
    8   closing arguments and at other times is intended to help you interpret the
    9   evidence, but it is not evidence. If the facts as you remember them differ from the
   10   way the lawyers have stated them, your memory of them controls.
   11          (2) Questions and objections by lawyers are not evidence. Attorneys have
   12   a duty to their clients to object when they believe a question is improper under the
   13   rules of evidence. You should not be influenced by the objection or by the court’s
   14   ruling on it.
   15          (3) Testimony that is excluded or stricken, or that you are instructed to
   16   disregard, is not evidence and must not be considered. In addition some evidence
   17   may be received only for a limited purpose; when I instruct you to consider
   18   certain evidence only for a limited purpose, you must do so and you may not
   19   consider that evidence for any other purpose.
   20          (4) Anything you may see or hear when the court was not in session is not
   21   evidence. You are to decide the case solely on the evidence received at the trial.
   22   [Source: 9th Cir. 1.10]
   23                                                 _______        Given
   24                                                 _______        Given as Modified
   25                                                 _______        Withdrawn
   26                                                 _______        Refused
   27
                                                      United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 8
    2                 DIRECT AND CIRCUMSTANTIAL EVIDENCE
    3         Evidence may be direct or circumstantial. Direct evidence is direct proof of
    4   a fact, such as testimony by a witness about what that witness personally saw or
    5   heard or did. Circumstantial evidence is proof of one or more facts from which
    6   you could find another fact. You should consider both kinds of evidence. The law
    7   makes no distinction between the weight to be given to either direct or
    8   circumstantial evidence. It is for you to decide how much weight to give to any
    9   evidence.
   10   [Source: 9th Cir. 1.12]
   11                                                _______         Given
   12                                                _______         Given as Modified
   13                                                _______         Withdrawn
   14                                                _______         Refused
   15
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   16
                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 9
    2                             RULING ON OBJECTIONS
    3         There are rules of evidence that control what can be received into evidence.
    4   When a lawyer asks a question or offers an exhibit into evidence and a lawyer on
    5   the other side thinks that it is not permitted by the rules of evidence, that lawyer
    6   may object. If I overrule the objection, the question may be answered or the
    7   exhibit received. If I sustain the objection, the question cannot be answered, and
    8   the exhibit cannot be received. Whenever I sustain an objection to a question, you
    9   must ignore the question and must not guess what the answer might have been.
   10         Sometimes I may order that evidence be stricken from the record and that
   11   you disregard or ignore that evidence. That means when you are deciding the
   12   case, you must not consider the stricken evidence for any purpose.
   13   [Source: 9th Cir. 1.13]
   14                                                _______         Given
   15                                                _______         Given as Modified
   16                                                _______         Withdrawn
   17                                                _______         Refused
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   19                                                __________________________
                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 10
    2                            CREDIBILITY OF WITNESSES
    3          In deciding the facts in this case, you may have to decide which testimony
    4   to believe and which testimony not to believe. You may believe everything a
    5   witness says, or part of it, or none of it.
    6          In considering the testimony of any witness, you may take into account:
    7          (1)    the opportunity and ability of the witness to see or hear or know the
    8   things testified to;
    9          (2)    the witness’s memory;
   10          (3)    the witness’s manner while testifying;
   11          (4)    the witness’s interest in the outcome of the case, if any;
   12          (5)    the witness’s bias or prejudice, if any;
   13          (6)    whether other evidence contradicted the witness’s testimony;
   14          (7)    the reasonableness of the witness’s testimony in light of all the
   15   evidence; and
   16          (8)    any other factors that bear on believability.
   17          Sometimes a witness may say something that is not consistent with
   18   something else he or she said. Sometimes different witnesses will give different
   19   versions of what happened. People often forget things or make mistakes in what
   20   they remember. Also, two people may see the same event but remember it
   21   differently. You may consider these differences, but do not decide that testimony
   22   is untrue just because it differs from other testimony.
   23          However, if you decide that a witness has deliberately testified untruthfully
   24   about something important, you may choose not to believe anything that witness
   25   said. On the other hand, if you think the witness testified untruthfully about some
   26   things but told the truth about others, you may accept the part you think is true
   27   and ignore the rest.
   28          The weight of the evidence as to a fact does not necessarily depend on the
                                                      19
                                   JOINT PROPOSED JURY INSTRUCTIONS
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    1   number of witnesses who testify. What is important is how believable the
    2   witnesses were, and how much weight you think their testimony deserves.
    3   [Source: 9th Cir. 1.14]
    4                                                _______         Given
    5                                                _______         Given as Modified
    6                                                _______         Withdrawn
    7                                                _______         Refused
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    9                                                __________________________
                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 11
    2                              CONDUCT OF THE JURY
    3         I will now say a few words about your conduct as jurors.
    4         First, keep an open mind throughout the trial, and do not decide what the
    5   verdict should be until you and your fellow jurors have completed your
    6   deliberations at the end of the case.
    7         Second, because you must decide this case based only on the evidence
    8   received in the case and on my instructions as to the law that applies, you must
    9   not be exposed to any other information about the case or to the issues it involves
   10   during the course of your jury duty. Thus, until the end of the case or unless I tell
   11   you otherwise:
   12         Do not communicate with anyone in any way and do not let anyone else
   13   communicate with you in any way about the merits of the case or anything to do
   14   with it. This includes discussing the case in person, in writing, by phone or
   15   electronic means, via email, text messaging, or any internet chat room, blog,
   16   website or application, including but not limited to Facebook, YouTube, Twitter,
   17   Instagram, LinkedIn, Snapchat, or any other forms of social media. This applies
   18   to communicating with your fellow jurors until I give you the case for
   19   deliberation, and it applies to communicating with everyone else including your
   20   family members, your employer, the media or press, and the people involved in
   21   the trial, although you may notify your family and your employer that you have
   22   been seated as a juror in the case, and how long you expect the trial to last. But, if
   23   you are asked or approached in any way about your jury service or anything about
   24   this case, you must respond that you have been ordered not to discuss the matter
   25   and report the contact to the court.
   26         Because you will receive all the evidence and legal instruction you
   27   properly may consider to return a verdict: do not read, watch or listen to any news
   28   or media accounts or commentary about the case or anything to do with
                                                 21
                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1   it[,although I have no information that there will be news reports about this case];
    2   do not do any research, such as consulting dictionaries, searching the Internet, or
    3   using other reference materials; and do not make any investigation or in any other
    4   way try to learn about the case on your own. Do not visit or view any place
    5   discussed in this case, and do not use Internet programs or other devices to search
    6   for or view any place discussed during the trial. Also, do not do any research
    7   about this case, the law, or the people involved—including the parties, the
    8   witnesses or the lawyers—until you have been excused as jurors. If you happen to
    9   read or hear anything touching on this case in the media, turn away and report it
   10   to me as soon as possible.
   11          These rules protect each party’s right to have this case decided only on
   12   evidence that has been presented here in court. Witnesses here in court take an
   13   oath to tell the truth, and the accuracy of their testimony is tested through the trial
   14   process. If you do any research or investigation outside the courtroom, or gain
   15   any information through improper communications, then your verdict may be
   16   influenced by inaccurate, incomplete or misleading information that has not been
   17   tested by the trial process. Each of the parties is entitled to a fair trial by an
   18   impartial jury, and if you decide the case based on information not presented in
   19   court, you will have denied the parties a fair trial. Remember, you have taken an
   20   oath to follow the rules, and it is very important that you follow these rules.
   21          A juror who violates these restrictions jeopardizes the fairness of these
   22   proceedings and a mistrial could result that would require the entire trial process
   23   to start over. If any juror is exposed to any outside information, please notify the
   24   court immediately.
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                                   JOINT PROPOSED JURY INSTRUCTIONS
Case 2:19-cv-05226-MCS-KS Document 56 Filed 06/07/21 Page 23 of 99 Page ID #:930



    1   [Source: 9th Cir. 1.15]
    2                                                _______         Given
    3                                                _______         Given as Modified
    4                                                _______         Withdrawn
    5                                                _______         Refused
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    7                                                __________________________
                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 12
    2                     NO TRANSCRIPT AVAILABLE TO JURY
    3         I urge you to pay close attention to the trial testimony as it is given. During
    4   deliberations you will not have a transcript of the trial testimony.
    5   [Source: 9th Cir. 1.17]
    6                                                  _______       Given
    7                                                  _______       Given as Modified
    8                                                  _______       Withdrawn
    9                                                  _______       Refused
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                                                       United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 13
    2                                   TAKING NOTES
    3         If you wish, you may take notes to help you remember the evidence. If you
    4   do take notes, please keep them to yourself until you go to the jury room to decide
    5   the case. Do not let notetaking distract you. When you leave, your notes should be
    6   left in the [courtroom] [jury room] [envelope in the jury room]. No one will read
    7   your notes.
    8         Whether or not you take notes, you should rely on your own memory of the
    9   evidence. Notes are only to assist your memory. You should not be overly
   10   influenced by your notes or those of other jurors.
   11   [Source: 9th Cir. 1.18]
   12                                                _______         Given
   13                                                _______         Given as Modified
   14                                                _______         Withdrawn
   15                                                _______         Refused
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                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 14
    2                    QUESTIONS TO WITNESSES BY JURORS
    3         Only the lawyers and I are allowed to ask questions of witnesses. A juror is
    4   not permitted to ask questions of witnesses. [Specific reasons for not allowing
    5   jurors to ask questions may be explained.] If, however, you are unable to hear a
    6   witness or a lawyer, please raise your hand and I will correct the situation.
    7   [Source: 9th Cir. 1.19]
    8                                                  _______       Given
    9                                                  _______       Given as Modified
   10                                                  _______       Withdrawn
   11                                                  _______       Refused
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                                                       United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
Case 2:19-cv-05226-MCS-KS Document 56 Filed 06/07/21 Page 27 of 99 Page ID #:934



    1                             JURY INSTRUCTION NO. 15
    2                     USE OF INTERROGATORIES OF A PARTY
    3            Before trial, each party has the right to ask the other parties to answer
    4   written questions. These questions are called interrogatories. The answers are also
    5   in writing and are given under oath. You must consider the questions and answers
    6   that were read to you the same as if the questions and answers had been given in
    7   court.
    8   [Source: CACI 209]
    9                                                 _______        Given
   10                                                 _______        Given as Modified
   11                                                 _______        Withdrawn
   12                                                 _______        Refused
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                                                      United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
Case 2:19-cv-05226-MCS-KS Document 56 Filed 06/07/21 Page 28 of 99 Page ID #:935



    1                            JURY INSTRUCTION NO. 16
    2                           REQUESTS FOR ADMISSION
    3         Before trial, each party has the right to ask another party to admit in writing
    4   that certain matters are true. If the other party admits those matters, you must
    5   accept them as true. No further evidence is required to prove them.
    6         However, these matters must be considered true only as they apply to the
    7   party who admitted they were true.
    8   [Source: CACI 210]
    9                                                 _______       Given
   10                                                 _______       Given as Modified
   11                                                 _______       Withdrawn
   12                                                 _______       Refused
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                                                      United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 17
    2                    BENCH CONFERENCES AND RECESSES
    3         From time to time during the trial, it [may become] [became] necessary for
    4   me to talk with the attorneys out of the hearing of the jury, either by having a
    5   conference at the bench when the jury [is] [was] present in the courtroom, or by
    6   calling a recess. Please understand that while you [are] [were] waiting, we [are]
    7   [were] working. The purpose of these conferences is not to keep relevant
    8   information from you, but to decide how certain evidence is to be treated under the
    9   rules of evidence and to avoid confusion and error.
   10         Of course, we [will do] [have done] what we [can] [could] to keep the
   11   number and length of these conferences to a minimum. I [may] [did] not always
   12   grant an attorney’s request for a conference. Do not consider my granting or
   13   denying a request for a conference as any indication of my opinion of the case or
   14   of what your verdict should be.
   15   [Source: 9th Cir. 1.20]
   16                                                _______         Given
   17                                                _______         Given as Modified
   18                                                _______         Withdrawn
   19                                                _______         Refused
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                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
Case 2:19-cv-05226-MCS-KS Document 56 Filed 06/07/21 Page 30 of 99 Page ID #:937



    1                             JURY INSTRUCTION NO. 18
    2                                  OUTLINE OF TRIAL
    3         Trials proceed in the following way: First, each side may make an opening
    4   statement. An opening statement is not evidence. It is simply an outline to help
    5   you understand what that party expects the evidence will show. A party is not
    6   required to make an opening statement.
    7         The plaintiff will then present evidence, and counsel for the defendant may
    8   cross-examine. Then the defendant may present evidence, and counsel for the
    9   plaintiff may cross-examine.
   10         After the evidence has been presented, I will instruct you on the law that
   11   applies to the case and the attorneys will make closing arguments.
   12         After that, you will go to the jury room to deliberate on your verdict.
   13   [Source: 9th Cir. 1.21]
   14                                                 _______        Given
   15                                                 _______        Given as Modified
   16                                                 _______        Withdrawn
   17                                                 _______        Refused
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   19                                                 __________________________
                                                      United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1      B. INITIAL SET OF INSTRUCTIONS (GIVEN AFTER VOIR DIRE)
    2                            JURY INSTRUCTION NO. 1
    3                                   DUTY OF JURY
    4         Members of the Jury: Now that you have heard all of the evidence and the
    5   arguments of the attorneys, it is my duty to instruct you on the law that applies to
    6   this case.
    7         A copy of these instructions will be sent to the jury room for you to consult
    8   during your deliberations.
    9         It is your duty to find the facts from all the evidence in the case. To those
   10   facts you will apply the law as I give it to you. You must follow the law as I give
   11   it to you whether you agree with it or not. And you must not be influenced by any
   12   personal likes or dislikes, opinions, prejudices, or sympathy. That means that you
   13   must decide the case solely on the evidence before you. You will recall that you
   14   took an oath to do so.
   15         Please do not read into these instructions or anything that I may say or do
   16   or have said or done that I have an opinion regarding the evidence or what your
   17   verdict should be.
   18   [Source: 9th Cir. 1.4]
   19                                                _______        Given
   20                                                _______        Given as Modified
   21                                                _______        Withdrawn
   22                                                _______        Refused
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                                                     United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                               JURY INSTRUCTION NO. 2
    2                                CLAIMS AND DEFENSES
    3         To help you follow the evidence, I will give you a brief summary of the
    4   positions of the parties:
    5         Dominique Washington asserts that FedEx Ground terminated her due to
    6   her need to take medical leave from work related to her pregnancy. Ms.
    7   Washington informed her supervisor at FedEx Ground in person and over the
    8   phone of her need to take off work due to a pregnancy related disability. Despite
    9   this, FedEx Ground disregarded Ms. Washington’s rights and terminated her
   10   because it did not want to deal with accommodating her pregnancy-related
   11   medical needs. Ms. Washington has the burden of proving each of her claims.
   12         FedEx Ground denies each of Ms. Washington’s claims. FedEx Ground
   13   contends that it accommodated Ms. Washington, that it was not aware of Ms.
   14   Washington’s alleged disability at the time of her termination, and that Ms.
   15   Washington was terminated for legitimate, non-discriminatory, non-retaliatory
   16   reasons when Ms. Washington received many unexcused absences from her
   17   scheduled work shifts.
   18         FedEx Ground also asserts certain affirmative defenses to Ms.
   19   Washington’s claims. FedEx Ground contends that, if Ms. Washington can prove
   20   that her termination was actually motivated by both discriminatory and non-
   21   discriminatory reasons, it is not liable because their legitimate reasons for
   22   terminating Ms. Washington, standing alone, would have induced it to make the
   23   same decision at the same time. FedEx Ground further contends that Ms.
   24   Washington could have avoided all or some of her alleged harm by reasonable
   25   effort. FedEx Ground also contends that Ms. Washington has not made a
   26   reasonable effort to minimize her alleged damages. FedEx Ground has the burden
   27   of proof on each of its affirmative defenses.
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                                    JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: 9th Cir. 1.5]
    2                                               _______         Given
    3                                               _______         Given as Modified
    4                                               _______         Withdrawn
    5                                               _______         Refused
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    7                                               ___________________
                                                    United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 3
    2                      LIABILITY OF ENTITY DEFENDANTS
    3         Under the law, a corporation or limited liability company is considered to
    4   be a person. It can only act through its employees, agents, directors, or officers.
    5   Therefore, a corporation or limited liability company is responsible for the acts of
    6   its employees, agents, directors, and officers performed within the scope of
    7   authority.
    8   [Source: 9th Cir. 4.2]
    9                                                _______        Given
   10                                                _______        Given as Modified
   11                                                _______        Withdrawn
   12                                                _______        Refused
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                                                     United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 4
    2                                BURDEN OF PROOF
    3           When a party has the burden of proving any claim [or affirmative defense]
    4   by a preponderance of the evidence, it means you must be persuaded by the
    5   evidence that the claim [or affirmative defense] is more probably true than not
    6   true.
    7           You should base your decision on all of the evidence, regardless of which
    8   party presented it.
    9   [Source: 9th Cir. 1.6]
   10                                                _______        Given
   11                                                _______        Given as Modified
   12                                                _______        Withdrawn
   13                                                _______        Refused
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                                                     United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 5
    2                                WHAT IS EVIDENCE
    3         The evidence you are to consider in deciding what the facts are consists of:
    4         (1)    the sworn testimony of any witness;
    5         (2)    the exhibits that are admitted into evidence;
    6         (3)    any facts to which the lawyers have agreed; and
    7         (4)    any facts that I [may instruct] [have instructed] you to accept as
    8                proved.
    9   [Source: 9th Cir. 1.9]
   10                                                 _______        Given
   11                                                 _______        Given as Modified
   12                                                 _______        Withdrawn
   13                                                 _______        Refused
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                                                      United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                               JURY INSTRUCTION NO. 6
    2                               WHAT IS NOT EVIDENCE
    3            In reaching your verdict, you may consider only the testimony and exhibits
    4   received into evidence. Certain things are not evidence, and you may not consider
    5   them in deciding what the facts are. I will list them for you:
    6            (1)   Arguments and statements by lawyers are not evidence. The lawyers
    7   are not witnesses. What they [may say] [have said] in their opening statements,
    8   closing arguments and at other times is intended to help you interpret the
    9   evidence, but it is not evidence. If the facts as you remember them differ from the
   10   way the lawyers have stated them, your memory of them controls.
   11            (2)   Questions and objections by lawyers are not evidence. Attorneys
   12   have a duty to their clients to object when they believe a question is improper
   13   under the rules of evidence. You should not be influenced by the objection or by
   14   the court’s ruling on it.
   15            (3)   Testimony that is excluded or stricken, or that you are instructed to
   16   disregard, is not evidence and must not be considered. In addition some evidence
   17   may be received only for a limited purpose; when I instruct you to consider
   18   certain evidence only for a limited purpose, you must do so and you may not
   19   consider that evidence for any other purpose.
   20            (4)   Anything you may see or hear when the court was not in session is
   21   not evidence. You are to decide the case solely on the evidence received at the
   22   trial.
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                                    JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: 9th Cir. 1.10]
    2                                                _______         Given
    3                                                _______         Given as Modified
    4                                                _______         Withdrawn
    5                                                _______         Refused
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    7                                                __________________________
                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 7
    2                 DIRECT AND CIRCUMSTANTIAL EVIDENCE
    3         Evidence may be direct or circumstantial. Direct evidence is direct proof of
    4   a fact, such as testimony by a witness about what that witness personally saw or
    5   heard or did. Circumstantial evidence is proof of one or more facts from which
    6   you could find another fact. You should consider both kinds of evidence. The law
    7   makes no distinction between the weight to be given to either direct or
    8   circumstantial evidence. It is for you to decide how much weight to give to any
    9   evidence.
   10   [Source: 9th Cir. 1.12]
   11                                                _______         Given
   12                                                _______         Given as Modified
   13                                                _______         Withdrawn
   14                                                _______         Refused
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                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 8
    2                             RULING ON OBJECTIONS
    3         There are rules of evidence that control what can be received into evidence.
    4   When a lawyer asks a question or offers an exhibit into evidence and a lawyer on
    5   the other side thinks that it is not permitted by the rules of evidence, that lawyer
    6   may object. If I overrule the objection, the question may be answered or the
    7   exhibit received. If I sustain the objection, the question cannot be answered, and
    8   the exhibit cannot be received. Whenever I sustain an objection to a question, you
    9   must ignore the question and must not guess what the answer might have been.
   10         Sometimes I may order that evidence be stricken from the record and that
   11   you disregard or ignore that evidence. That means when you are deciding the
   12   case, you must not consider the stricken evidence for any purpose.
   13   [Source: 9th Cir. 1.13]
   14                                                 _______        Given
   15                                                 _______        Given as Modified
   16                                                 _______        Withdrawn
   17                                                 _______        Refused
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   19                                                 __________________________
                                                      United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                              JURY INSTRUCTION NO. 9
    2                            CREDIBILITY OF WITNESSES
    3          In deciding the facts in this case, you may have to decide which testimony
    4   to believe and which testimony not to believe. You may believe everything a
    5   witness says, or part of it, or none of it.
    6          In considering the testimony of any witness, you may take into account:
    7          (1)    the opportunity and ability of the witness to see or hear or know the
    8   things testified to;
    9          (2)    the witness’s memory;
   10          (3)    the witness’s manner while testifying;
   11          (4)    the witness’s interest in the outcome of the case, if any;
   12          (5)    the witness’s bias or prejudice, if any;
   13          (6)    whether other evidence contradicted the witness’s testimony;
   14          (7)    the reasonableness of the witness’s testimony in light of all the
   15   evidence; and
   16          (8)    any other factors that bear on believability.
   17          Sometimes a witness may say something that is not consistent with
   18   something else he or she said. Sometimes different witnesses will give different
   19   versions of what happened. People often forget things or make mistakes in what
   20   they remember. Also, two people may see the same event but remember it
   21   differently. You may consider these differences, but do not decide that testimony
   22   is untrue just because it differs from other testimony.
   23          However, if you decide that a witness has deliberately testified untruthfully
   24   about something important, you may choose not to believe anything that witness
   25   said. On the other hand, if you think the witness testified untruthfully about some
   26   things but told the truth about others, you may accept the part you think is true
   27   and ignore the rest.
   28          The weight of the evidence as to a fact does not necessarily depend on the
                                                      41
                                   JOINT PROPOSED JURY INSTRUCTIONS
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    1   number of witnesses who testify. What is important is how believable the
    2   witnesses were, and how much weight you think their testimony deserves.
    3   [Source: 9th Cir. 1.14]
    4                                                _______         Given
    5                                                _______         Given as Modified
    6                                                _______         Withdrawn
    7                                                _______         Refused
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    9                                                __________________________
                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 10
    2                    QUESTIONS TO WITNESSES BY JURORS
    3         Only the lawyers and I are allowed to ask questions of witnesses. A juror is
    4   not permitted to ask questions of witnesses. [Specific reasons for not allowing
    5   jurors to ask questions may be explained.] If, however, you are unable to hear a
    6   witness or a lawyer, please raise your hand and I will correct the situation.
    7   [Source: 9th Cir. 1.19]
    8                                                  _______       Given
    9                                                  _______       Given as Modified
   10                                                  _______       Withdrawn
   11                                                  _______       Refused
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                                                       United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                           JURY INSTRUCTION NO. 11
    2                  OPINION TESTIMONY OF A LAY WITNESS
    3         A witness [who was not testifying as an expert] gave an opinion during the
    4   trial. You may, but are not required to, accept that opinion. You may give the
    5   opinion whatever weight you think is appropriate. Consider the extent of the
    6   witness’s opportunity to perceive the matters on which the opinion is based, the
    7   reasons the witness gave for the opinion, and the facts or information on which
    8   the witness relied in forming that opinion. You must decide whether information
    9   on which the witness relied was true and accurate. You may disregard all or any
   10   part of an opinion that you ﬁnd unbelievable, unreasonable, or unsupported by the
   11   evidence.
   12   [Source: CACI 223]
   13                                                _______       Given
   14                                                _______       Given as Modified
   15                                                _______       Withdrawn
   16                                                _______       Refused
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                                                     United States District Judge
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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1               C. CAUSES OF ACTION & AFFIRMATIVE DEFENSES
    2    INSTRUCTIONS APPLICABLE TO MULTIPLE CAUSES OF ACTION
    3                            JURY INSTRUCTION NO. 1
    4        DISABILITY DISCRIMINATION DISPARATE TREATMENT –
    5          ESSENTIAL FACTUAL ELEMENTS (Gov. Code, § 12940(a))
    6         Ms. Washington claims that FedEx Ground wrongfully discriminated
    7   against her based on her pregnancy or a pregnancy related disability. To establish
    8   her claim for pregnancy or disability discrimination, Ms. Washington must prove
    9   all of the following:
   10         (1)    That FedEx Ground was an employer;
   11         (2)    That Ms. Washington was an employee of FedEx Ground;
   12         (3)    That FedEx discharged Ms. Washington
   13         (4)    That Ms. Washington’s pregnancy or disability was a substantial
   14   motivating reason for FedEx Ground’s decision to discharge her;
   15         (5)    That Ms. Washington was harmed; and
   16         (6)    That FedEx Ground’s conduct was a substantial factor in causing
   17   Ms. Washington’s harm.
   18         Ms. Washington does not need to prove that FedEx Ground held any ill
   19   will or animosity toward her personally because she was pregnant or disabled. On
   20   the other hand, if you find that FedEx Ground did hold ill will or animosity
   21   toward Ms. Washington because she was pregnant or disabled, you may consider
   22   this fact, along with all the other evidence, in determining whether Ms.
   23   Washington’s pregnancy or disability was a substantial motivating reason for the
   24   decision of FedEx Ground to discharge Ms. Washington.
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: CACI 2500]
    2                                            _______         Given
    3                                            _______         Given as Modified
    4                                            _______         Withdrawn
    5                                            _______         Refused
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    7                                            __________________________
                                                 United States District Judge
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                              JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 2
    2       DISABILITY DISCRIMINATION – DISPARATE TREATMENT –
    3                        ESSENTUAL FACTUAL ELEMENTS
    4         Ms. Washington claims that FedEx Ground wrongfully discriminated
    5   against her based on her pregnancy or disability. To establish this claim, Ms.
    6   Washington must prove all of the following:
    7         (1)    That FedEx Ground was an employer;
    8         (2)    That Ms. Washington was an employee of FedEx Ground;
    9         (3)    That FedEx Ground knew that Ms. Washington’s pregnancy or
   10   disability limited her ability to work;
   11         (4)    That Ms. Washington was able to perform the essential job
   12   duties with reasonable accommodation for her pregnancy or disability;
   13         (5)    That FedEx Ground discharged Ms. Washington;
   14         (6)    That Ms. Washington’s pregnancy or disability was a substantial
   15   motivating reason for FedEx Ground’s decision to discharge Ms. Washington;
   16         (7)    That Ms. Washington was harmed; and
   17         (8)    That FedEx Ground’s conduct was a substantial factor in causing
   18   Ms. Washington’s harm.
   19         Ms. Washington does not need to prove that FedEx Ground held any ill
   20   will or animosity toward her personally because she was disabled.
   21         On the other hand, if you find that FedEx Ground did hold ill will or
   22   animosity toward Ms. Washington because she was disabled, you may consider
   23   this fact, along with all the other evidence, in determining whether Ms.
   24   Washington’s pregnancy or disability was a substantial motivating reason for the
   25   decision of FedEx Ground to discharge Ms. Washington.
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: CACI 2540]
    2                                                         _______        Given
    3                                                         _______        Given as Modified
    4                                                         _______        Withdrawn
    5                                                         _______        Refused
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    7                                                         __________________________
                                                              United States District Judge1
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            These two instructions appear to cover the same thing. Defendant prefers jury instruction #2.
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                                       JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 3
    2   RETALIATION – ESSENTIAL FACTUAL ELEMENTS (GOVERNMENT
    3                                  CODE, § 12940(h))
    4         Ms. Washington claims that FedEx Ground retaliated against her for taking
    5   time off work due to her pregnancy or a pregnancy related condition or
    6   procedure. To establish this claim, Ms. Washington must prove all of the
    7   following:
    8         (1)    That Ms. Washington took time off work due to her pregnancy or a
    9   pregnancy related condition or procedure,
   10         (2)    That FedEx Ground discharged Ms. Washington;
   11         (3)    That Ms. Washington’s taking time off work due to her pregnancy or
   12   a pregnancy related disability or medical procedure was a substantial motivating
   13   reason for FedEx Ground’s decision to discharge her;
   14         (4)    That Ms. Washington was harmed; and
   15         (5)    That FedEx Ground’s decision to discharge Ms. Washington was a
   16   substantial factor in causing her harm.
   17         Ms. Washington does not need to prove discrimination in order to be
   18   protected from retaliation. If she reasonably believed that FedEx Ground’s
   19   conduct was unlawful/ requested a [disability accommodation, she may prevail on
   20   a retaliation claim even if she does not present, or prevail on, a separate claim for
   21   discrimination.
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: CACI 2505]
    2                                            _______         Given
    3                                            _______         Given as Modified
    4                                            _______         Withdrawn
    5                                            _______         Refused
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                                                 United States District Judge
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                              JOINT PROPOSED JURY INSTRUCTIONS
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    1                           JURY INSTRUCTION NO. 4
    2            “SUBSTANTIAL MOTIVATING REASON” EXPLAINED
    3         A “substantial motivating reason” is a reason that actually contributed to
    4   the decision to terminate Ms. Washington’s employment. It must be more than a
    5   remote or trivial reason. It does not have to be the only reason motivating the
    6   termination decision.
    7   [Source: CACI 2507]
    8                                              _______         Given
    9                                              _______         Given as Modified
   10                                              _______         Withdrawn
   11                                              _______         Refused
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                                                   United States District Judge
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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1                                JURY INSTRUCTION NO. 5
    2                        “SUBSTANTIAL FACTOR” EXPLAINED
    3          A “substantial factor” in causing harm is a factor that a reasonable person
    4   would consider to have contributed to the harm. It must be more than a remote or
    5   trivial factor. It does not have to be the only cause of the harm.
    6          Conduct is not a substantial factor in causing harm if the same harm would
    7   have occurred without that conduct.2
    8   [Source: CACI 430]
    9                                                        _______        Given
   10                                                        _______        Given as Modified
   11                                                        _______        Withdrawn
   12                                                        _______        Refused
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                                                             United States District Judge
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          Defendant requests this language as part of this instruction. If Plaintiff does not agree, this
   28   instruction should be added to the disputed list.
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                                     JOINT PROPOSED JURY INSTRUCTIONS
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    4                             JURY INSTRUCTION NO. 6
    5              “ADVERSE EMPLOYMENT ACTIONS” EXPLAINED
    6         Ms. Washington must prove that she was subjected to an adverse
    7   employment action.
    8         Adverse employment actions are not limited to ultimate actions such as
    9   termination or demotion. There is an adverse employment action if FedEx
   10   Ground has taken an action or engaged in a course or pattern of conduct that,
   11   taken as a whole, materially and adversely affected the terms, conditions, or
   12   privileges of Ms. Washington’s employment. An adverse employment action
   13   includes conduct that is reasonably likely to impair a reasonable employee’s job
   14   performance or prospects for advancement or promotion. However, minor or
   15   trivial actions or conduct that is not reasonably likely to do more than anger or
   16   upset an employee cannot constitute an adverse employment action.
   17   [Source: CACI 2509]
   18                                                 _______       Given
   19                                                 _______       Given as Modified
   20                                                 _______       Withdrawn
   21                                                 _______       Refused
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   23                                                 __________________________
   24                                                 United States District Judge

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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 7
    2                              BUSINESS JUDGMENT
    3         In California, employment is presumed to be “at will.” That means that an
    4   employer may discharge an employee for no reason, or for a good, bad, mistaken,
    5   unwise, or even unfair reason, as long as its action is not for a discriminatory or
    6   retaliatory reason.
    7   [Source: CACI 2513]
    8                                                _______       Given
    9                                                _______       Given as Modified
   10                                                _______       Withdrawn
   11                                                _______       Refused
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                                                     United States District Judge
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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1                              JURY INSTRUCTION NO. 8
    2      FAILURE TO PREVENT DISCRIMINATION OR RETALIATION -
    3                           ELEMENTS OF CAUSE OF ACTION
    4           Ms. Washington claims that FedEx Ground failed to take all reasonable
    5   steps to prevent discrimination and retaliation based on pregnancy, disability, and
    6   her taking disability leave. To establish this claim, Ms. Washington must prove
    7   all of the following:
    8           (1)   That Ms. Washington was an employee of Defendant;
    9           (2)   That Ms. Washington was subjected to discrimination or retaliation
   10   in the course of employment;
   11           (3)   That FedEx Ground failed to take all reasonable steps to prevent the
   12   discrimination or retaliation;
   13           (4)   That Ms. Washington was harmed; and
   14           (5)   That FedEx Ground’s failure to take all reasonable steps to prevent
   15   discrimination or retaliation was a substantial factor in causing Ms. Washington’s
   16   harm.
   17   [Source: CACI 2527]
   18                                                _______         Given
   19                                                _______         Given as Modified
   20                                                _______         Withdrawn
   21                                                _______         Refused
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                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1                              JURY INSTRUCTION NO. 9
    2        FAILURE TO PROVIDE A REASONABLE ACCOMODATION –
    3                          ELEMENTS OF A CAUSE OF ACTION
    4         Ms. Washington claims that FedEx Ground failed to reasonably
    5   accommodate her pregnancy or other condition. To establish this claim, Ms.
    6   Washington must prove all of the following:
    7         (1)     That FedEx Ground was an employer;
    8         (2)     That Ms. Washington was an employee of FedEx Ground;
    9         (3)     That Ms. Washington was pregnant or had a disability that limited a
   10   major life activity;
   11         (4)     That FedEx Ground knew of Ms. Washington’s pregnancy or other
   12   condition that limited a major life activity;
   13         (5)     That Ms. Washington was able to perform the essential job duties
   14   with reasonable accommodation for her pregnancy or other condition that limited
   15   a major life activity;
   16         (6)     That FedEx Ground failed to provide reasonable accommodation for
   17   Ms. Washington’s pregnancy or other condition that limited a major life activity;
   18         (7)     That Ms. Washington was harmed; and
   19         (8)     That FedEx Ground’ failure to provide reasonable accommodation
   20   was a substantial factor in causing Ms. Washington’s harm.
   21         In determining whether Ms. Washington’s pregnancy or other disability
   22   that limited a major life activity, you must consider the condition in its
   23   unmedicated state.
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: CACI 2541]
    2                                            _______         Given
    3                                            _______         Given as Modified
    4                                            _______         Withdrawn
    5                                            _______         Refused
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    7                                            __________________________
                                                 United States District Judge
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                              JOINT PROPOSED JURY INSTRUCTIONS
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    1                                JURY INSTRUCTION NO. 10
    2                  “REASONABLE ACCOMMODATION” EXPLAINED
    3            A reasonable accommodation is a reasonable change to the workplace that
    4   allows an employee with a disability to perform the essential duties of the job;
    5   Reasonable accommodations may include the following:
    6            (1)   Making the workplace readily accessible to and usable by employees
    7                  with disabilities;
    8            (2)   Changing job responsibilities or work schedules;
    9            (3)   Reassigning the employee to a vacant position;
   10            (4)   Modifying or providing equipment or devices;
   11            (5)   Modifying tests or training materials;
   12            (6)   Providing medical leave;
   13            (7)   Providing qualified interpreters or readers; and
   14            (8)   Providing other similar accommodations for an individual with a
   15                  disability.
   16            If more than one accommodation is reasonable, an employer makes a
   17   reasonable accommodation if it selects one of those accommodations in good
   18   faith.
   19   [Source: CACI 2542]
   20                                                   _______         Given
   21                                                   _______         Given as Modified
   22                                                   _______         Withdrawn
   23                                                   _______         Refused
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   25                                                   __________________________
                                                        United States District Judge
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                                     JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 11
    2               INTRODUCTION OF VICARIOUS RESPONBILITY
    3         One may authorize another to act on his or her behalf in transactions with
    4   third persons. This relationship is called “agency.” The person giving the
    5   authority is called the “principal”; the person to whom authority is given is called
    6   the “agent.”
    7         An employer is responsible for harm caused by the wrongful conduct of its
    8   employees while acting within the scope of their employment.
    9   [Source: CACI 3700]
   10                                                 _______       Given
   11                                                 _______       Given as Modified
   12                                                 _______       Withdrawn
   13                                                 _______       Refused
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   15                                                 __________________________
                                                      United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 12
    2   FAILURE TO ENGAGE IN AN INTERACTIVE PROCESS – ELEMENTS
    3                              OF CAUSE OF ACTION
    4         Ms. Washington contends that FedEx Ground failed to engage in a good-
    5   faith interactive process with her to determine whether it would be possible to
    6   implement effective reasonable accommodations so that Ms. Washington could
    7   perform the essential duties of her job. In order to establish this claim, Ms.
    8   Washington must prove the following:
    9         (1)   That FedEx Ground was an employer;
   10         (2)   That Ms. Washington was an employee of FedEx Ground;
   11         (3)   That Ms. Washington was pregnant, had a disability, or had a
   12   medical condition that limited a major life activity that was known to FedEx
   13   Ground;
   14         (4)   That Ms. Washington requested that FedEx Ground make reasonable
   15   accommodation for her pregnancy, disability, or medical condition that limited a
   16   major life activity so that she would be able to perform the essential job
   17   requirements;
   18         (5)   That Ms. Washington was willing to participate in an interactive
   19   process to determine whether reasonable accommodation could be made so that
   20   she would be able to perform the essential job requirements;
   21         (6)   That FedEx Ground failed to participate in a timely good-faith
   22   interactive process with Ms. Washington to determine whether reasonable
   23   accommodation could be made;
   24         (7)   That Ms. Washington was harmed; and
   25         (8)   That FedEx Ground’s failure to engage in a good-faith interactive
   26   process was a substantial factor in causing Ms. Washington’s harm.
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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: CACI 2546]
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    3                                            _______         Given
    4                                            _______         Given as Modified
    5                                            _______         Withdrawn
    6                                            _______         Refused
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    8                                            __________________________
                                                 United States District Judge
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                              JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 13
    2               INTERACTIVE PROCESS OBLIGATIONS EXPLAINED
    3         When an employee is unable to perform the functions of his or her job due
    4   to a temporary or permanent disability, an employer is required to engage in a
    5   good faith interactive process before terminating the employee. The interactive
    6   process requires communication and good-faith exploration of possible
    7   accommodations between the employer and employee with the goal of identifying
    8   an accommodation that allows the employee to perform the job effectively. If the
    9   employee’s disability and resulting limitations are not obvious, the employee
   10   must typically initiate the interactive process. The employer must initiate the
   11   interactive process when:
   12         (1)     an employee with a known physical or mental disability or medical
   13   condition requests reasonable accommodations;
   14         (2)     the employer becomes aware of the need for an accommodation
   15   through a third party or by observation; or
   16         (3)     the employer becomes aware of the possible need for an
   17   accommodation because the employee with a disability has exhausted leave under
   18   the California Family Rights Act, Family & Medical Leave Act, or Pregnancy
   19   Disability Act, and the employee or the employee’s health care provider indicates
   20   that further accommodation is still necessary.
   21         Once an interactive process has been initiated, both the employer and the
   22   employee have an obligation to keep communications open, and neither has a
   23   right to obstruct the process. Each party must participate in good faith, undertake
   24   reasonable efforts to communicate its concerns, and make available to the other
   25   information which is available, or more accessible, to one party. Responsibility
   26   for any breakdown lies with the party who fails to participate in good faith.
   27         The employer’s obligation to engage in the interactive process extends
   28   beyond the first attempt at accommodation and continues when the employee asks
                                                62
                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1   for a different accommodation or where the employer is aware that the initial
    2   accommodation is failing and further accommodation is needed.
    3   [Source: CACI 2546, Sources and Authority (citing Swanson v. Morongo Unified
    4   School Dist., 232 Cal. App. 4th 954, 971-972 (2014) [“Once initiated, the
    5   employer has a continuous obligation to engage in the interactive process in good
    6   faith. Both employer and employee have the obligation to keep communications
    7   open and neither has a right to obstruct the process. Each party must participate in
    8   good faith, undertake reasonable efforts to communicate its concerns, and make
    9   available to the other information which is available, or more accessible, to one
   10   party.... [R]esponsibility for [any] breakdown lies with the party who fails to
   11   participate in good faith.”] [internal quotations omitted]); Featherstone v.
   12   Southern California Permanente Medical Group (2017) 10 Cal.App.5th 1150,
   13   1169; Nadaf-Rahrov v. Neiman Marcus Grp., Inc. (2008) 166 Cal.App.4th
   14   952,984 (“The      interactive process requires communication and good-faith
   15   exploration of possible     accommodations between employers and individual
   16   employees’ with the goal of identifying an accommodation that allows the
   17   employee to perform the job effectively.”); Scotch v. Art Inst. Of Cal.-Orange
   18   Cnty., Inc. (2009) 173 Cal.App.4th 986, 1013 (“The employer’s obligation to
   19   engage in the interactive        process extends beyond the first attempt at
   20   accommodation and continues when the employee asks for a different
   21   accommodation or where the employer is aware that the initial accommodation is
   22   failing and further accommodation is needed.”; 2 Cal.Code Reg. § 11069(b) (“An
   23   employer or other covered entity shall initiate an interactive process when: ... (3)
   24   the employer or other covered entity becomes aware of the possible need for an
   25   accommodation because the employee with a disability has exhausted leave ... for
   26   the employee's own serious health condition under the CFRA and/or the FMLA,
   27   or other federal, state, employer or other covered entity leave provisions and yet
   28   the employee or the employee's health care provider indicates that further
                                                63
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    1   accommodation is still necessary for recuperative leave or other accommodation
    2   for the employee to perform the essential functions of the job.”).]
    3

    4                                                _______        Given
    5                                                _______        Given as Modified
    6                                                _______        Withdrawn
    7                                                _______        Refused
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    9                                                __________________________
                                                     United States District Judge
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    1                           JURY INSTRUCTION NO. 14
    2                          “KNOWN” DISABILITY EXPLAINED
    3         A “known” disability means a disability of which FedEx Ground has
    4   become aware, whether because: (1) it is obvious; (2) the employee has brought it
    5   to the employer’s attention; (3) it is based on the employer’s own perception—
    6   mistaken or not—of the existence of a disabling condition; or (4) the employer has
    7   come upon information indicating the presence of a disability.”
    8   [Source: CACI 2546 (citing Gelfo, 140 Cal.App.4th at p. 61, fn. 21.)]
    9

   10                                                _______        Given
   11                                                _______        Given as Modified
   12                                                _______        Withdrawn
   13                                                _______        Refused
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                                                     United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                           JURY INSTRUCTION NO. 15
    2                WRONGFUL TERMINATION IN VIOLATION OF PUBLIC
    3                  POLICY – ELEMENTS OF CAUSE OF ACTION
    4         Ms. Washington claims she was discharged from employment for reasons
    5   that violate a public policy. It is a violation of public policy to discriminate
    6   against an employee on the basis of her pregnancy or disability, or to retaliate
    7   against an employee for requesting or taking disability leave. To establish this
    8   claim, Ms. Washington must prove all of the following:
    9         (1)     That Ms. Washington was employed by FedEx Ground;
   10         (2)     That Ms. Washington was pregnant, disabled, or had a medical
   11   condition;
   12         (3)     That FedEx Ground discharged Ms. Washington;
   13         (4)     That Ms. Washington’s pregnancy, disability, or medical condition
   14   was a substantial motivating reason for Ms. Washington’s discharge; and
   15         (5)     That the discharge caused Ms. Washington harm.
   16   [Source: CACI 2430]
   17

   18                                               _______        Given
   19                                               _______        Given as Modified
   20                                               _______        Withdrawn
   21                                               _______        Refused
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   23                                               __________________________
                                                    United States District Judge
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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 16
    2                                BUSINESS JUDGMENT
    3         In California, employment is presumed to be “at will.” That means that
    4   an employer may discharge an employee for no reason, or for a good, bad,
    5   mistaken, unwise, or even unfair reason, as long as its action is not for a
    6   discriminatory or retaliatory reason.
    7   [Source: CACI 2513]
    8

    9                                                 _______       Given
   10                                                 _______       Given as Modified
   11                                                 _______       Withdrawn
   12                                                 _______       Refused
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                                                      United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                                      DAMAGES
    2                            JURY INSTRUCTION NO. 1
    3                     INTRODUCTION TO TORT DAMAGES
    4         If you decide that Ms. Washington has proved her claims against FedEx
    5   Ground, you also must decide how much money will reasonably compensate Ms.
    6   Washington for the harm. This compensation is called “damages.”
    7         The amount of damages must include an award for each item of harm that
    8   was caused by FedEx Ground’s wrongful conduct, even if the particular harm
    9   could not have been anticipated.
   10         Ms. Washington does not have to prove the exact amount of damages that
   11   will provide reasonable compensation for the harm. However, you must not
   12   speculate or guess in awarding damages.
   13         You must award damages in an amount that fully compensates Ms.
   14   Washington for her damages in accordance with instructions from the court. You
   15   may not speculate or consider any other possible sources of benefit that Ms.
   16   Washington may have received. After you have returned your verdict the court
   17   will make whatever adjustments are necessary in this regard.
   18   [Source: CACI 3900 & 3923]
   19                                               _______        Given
   20                                               _______        Given as Modified
   21                                               _______        Withdrawn
   22                                               _______        Refused
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   24                                               __________________________
                                                    United States District Judge
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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 2
    2                  SPECULATIVE DAMAGES NOT PERMITTED
    3         Do not award a party speculative damages, which means compensation for
    4   future loss or harm which, although possible, is conjectural or not reasonably
    5   certain.
    6         However, if you determine that a party is entitled to recover, you should
    7   compensate a party for loss or harm caused by the injury in question which is
    8   reasonably certain to be suffered in the future.
    9   [Source: California Jury Instructions – Civil (Spring 2017 Edition) (“BAJI”)
   10   14.60.]
   11

   12                                                 _______       Given
   13                                                 _______       Given as Modified
   14                                                 _______       Withdrawn
   15                                                 _______       Refused
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                                                      United States District Judge

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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 3
    2                       DAMAGES MUST BE REASONABLE
    3         If you decide that Ms. Washington has proven her claim against FedEx
    4   Ground, you also must decide how much money will be reasonably compensate
    5   Ms. Washington for the harm. This compensation is called “damages.”
    6         The amount of damages must include an award for each item of harm that
    7   was caused by FedEx Ground’s wrongful conduct, even if the particular harm
    8   could not have been anticipated.
    9         Ms. Washington does not have to prove the exact amount of damages that
   10   will provide reasonable compensation or the harm. However, you must not
   11   speculate or guess in awarding damages.
   12         The following are the specific items of damages claimed by Ms.
   13   Washington: Past and future lost wages and emotional distress damages.
   14   [Source: CACI 3900]
   15

   16                                              _______         Given
   17                                              _______         Given as Modified
   18                                              _______         Withdrawn
   19                                              _______         Refused
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                                                   United States District Judge
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                                JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 4
    2     AGGRAVATION OF PREEXISTING CONDITION OR DISABILITY
    3         Ms. Washington is not entitled to damages for any physical or emotional
    4   condition that she had before her discharge. However, if Ms. Washington had a
    5   physical or emotional condition that was made worse by FedEx Ground’s
    6   wrongful conduct, you must award damages that will reasonably and fairly
    7   compensate her for the effect on that condition.
    8   [Source: CACI 3927]
    9                                                _______        Given
   10                                                _______        Given as Modified
   11                                                _______        Withdrawn
   12                                                _______        Refused
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                                                     United States District Judge

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    1                                JURY INSTRUCTION NO. 5
    2                        DAMAGES ON MULTIPLE THEORIES
    3            Ms. Washington seeks damages from FedEx Ground under more than one
    4   legal theory. However, each item of damages may be awarded only once,
    5   regardless of the number of legal theories alleged.
    6            You will be asked to decide whether FedEx Ground is liable to Ms.
    7   Washington under the following related legal theories:
    8            (1)   Disability/Pregnancy Discrimination;
    9            (2)   Retaliation
   10            (3)   Failure to Prevent Disability Discrimination or Retaliation;
   11            (4)   Failure to Accommodate a Disability;
   12            (5)   Failure to Engage in an Interactive Process to Accommodate a
   13   Disability; and
   14      (6)     Wrongful Termination in Violation of Public Policy;
   15            The following items of damages are recoverable only once under all of the
   16   above legal theories:
   17      (1)     Past income and benefits;
   18      (2)     Future income and benefits; and
   19      (3)     Damages for emotional distress.
   20   [Source: CACI 3934]
   21                                                   _______         Given
   22                                                   _______         Given as Modified
   23                                                   _______         Withdrawn
   24                                                   _______         Refused
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                                                        United States District Judge
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                                     JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 6
    2                        WRONGFUL DISCHARGE DAMAGES
    3         If you find that FedEx Ground wrongfully discharged Ms. Washington in
    4   violation of public policy, then you must decide the amount of damages that Ms.
    5   Washington has proven she is entitled to recover, if any. To make that decision,
    6   you must:
    7         (1)   Decide the amount that Ms. Washington would have earned up to
    8   today, including any benefits and pay increases;
    9         (2)   Add the present cash value of any future wages and benefits that she
   10   would have earned for the length of time the employment with FedEx Ground
   11   was reasonably certain to continue; and
   12         (3)   Add damages for emotional distress if you find that the conduct of
   13   FedEx Ground was a substantial factor in causing that harm.
   14         In determining the period that Ms. Washington’s employment was
   15   reasonably certain to have continued, you should consider such things as:
   16         (a)   Ms. Washington’s age, work performance, and intent regarding
   17   continuing employment with FedEx Ground;
   18         (b)   FedEx Ground’s prospects for continuing the operations involving
   19   Ms. Washington; and
   20         (c)   Any other factor that bears on how long Ms. Washington would have
   21   continued to work.
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    1   [Source: CACI 2433]
    2                                            _______         Given
    3                                            _______         Given as Modified
    4                                            _______         Withdrawn
    5                                            _______         Refused
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    7                                            __________________________
                                                 United States District Judge
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                              JOINT PROPOSED JURY INSTRUCTIONS
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    1                          JURY INSTRUCTION NO. 7
    2                ECONOMIC AND NONECONOMIC DAMAGES
    3         The damages claimed by Ms. Washington for the harm caused by FedEx
    4   Ground fall into two categories called economic damages and noneconomic
    5   damages. You will be asked on the verdict form to state the two categories of
    6   damages separately.
    7   [Source: CACI 3902]
    8                                             _______         Given
    9                                             _______         Given as Modified
   10                                             _______         Withdrawn
   11                                             _______         Refused
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                                                  United States District Judge

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                               JOINT PROPOSED JURY INSTRUCTIONS
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    1                             JURY INSTRUCTION NO. 8
    2                           ITEMS OF ECONOMIC DAMAGE
    3          The following are the specific items of economic damages claimed by Ms.
    4   Washington:
    5          (1) Past income and benefits; and
    6          (2) Future income and benefits.
    7          To recover damages for past income and benefits, Ms. Washington must
    8   prove the amount of wages and the value of benefits that she has lost to date.
    9          To recover damages for future income and benefits, Ms. Washington must
   10   prove the amount of wages she will be reasonably certain to lose in the future as a
   11   result of the injury.
   12   [Source: CACI 3903 & 3903C]
   13                                                 _______       Given
   14                                                 _______       Given as Modified
   15                                                 _______       Withdrawn
   16                                                 _______       Refused
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   18                                                 __________________________
                                                      United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 9
    2               MEDICAL EXPENSES – FUTURE (ECONOMIC DAMAGE)
    3         (1)     Future medical expenses. To recover damages for future medical
    4   expenses, Ms. Washington must prove the reasonable cost of reasonably
    5   necessary medical care that she is reasonably certain to need in the future.
    6   [Source: CACI 3903A]
    7

    8                                                 _______       Given
    9                                                 _______       Given as Modified
   10                                                 _______       Withdrawn
   11                                                 _______       Refused
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                                                      United States District Judge

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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 10
    2                             PREJUDGMENT INTEREST
    3         If you decide that Ms. Washington is entitled to recover damages for past
    4   economic loss in one or more of the categories of damages that she claims, then
    5   you must decide whether she should also receive prejudgment interest on each
    6   item of loss in those categories.
    7         Prejudgment interest is the amount of interest the law provides to a plaintiff
    8   to compensate for the loss of the ability to use the funds. If prejudgment interest
    9   is awarded, it is computed from the date on which each loss was incurred until the
   10   date on which you sign your verdict.
   11         Whether Ms. Washington should receive an award of prejudgment interest
   12   on all, some, or none of any past economic damages that you may award is within
   13   your discretion. If you award these damages to Ms. Washington, you will be
   14   asked to address prejudgment interest in the special verdict form.
   15   [Source: CACI 3935]
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   17                                                _______        Given
   18                                                _______        Given as Modified
   19                                                _______        Withdrawn
   20                                                _______        Refused
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                                                     United States District Judge

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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                           JURY INSTRUCTION NO. 11
    2                               PRESENT CASH VALUE
    3         If you decide that Ms. Washington’s harm includes future economic
    4   damages for future income and benefits, then the amount of those future damages
    5   must be reduced to their present cash value. This is necessary because money
    6   received now will, through investment, grow to a larger amount in the future.
    7   FedEx Ground must prove the amount by which future damages should be
    8   reduced to present value.
    9         To find present cash value, you must determine the amount of money that,
   10   if reasonably invested today, will provide Ms. Washington with the amount of her
   11   future damages.
   12   [Source: CACI 3904A]
   13

   14                                              _______         Given
   15                                              _______         Given as Modified
   16                                              _______         Withdrawn
   17                                              _______         Refused
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                                                   United States District Judge

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    1                           JURY INSTRUCTION NO. 12
    2                      ITEMS OF NONECONOMIC DAMAGE
    3         The following are the specific items of noneconomic damages claimed by
    4   Ms. Washington:
    5         (1)    Mental suffering and emotional distress.
    6
              No fixed standard exists for deciding the amount of these noneconomic
    7
        damages. You must use your judgment to decide a reasonable amount based on
    8
        the evidence and your common sense.
    9
              To recover for future mental suffering and emotional distress, Ms.
   10
        Washington must prove that she is reasonably certain to suffer that harm.
   11
              For future mental suffering and emotional distress, determine the amount in
   12
        current dollars paid at the time of judgment that will compensate Ms. Washington
   13
        for future mental suffering and emotional distress.
   14
        [Source: CACI 3905 & 3905A]
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                                                     _______        Given
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                                                     _______        Given as Modified
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                                                     _______        Withdrawn
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   21                                                United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                           JURY INSTRUCTION NO. 13
    2                    UNUSUALLY SUSCEPTIBLE PLAINTIFF
    3         You must decide the full amount of money that will reasonably and fairly
    4   compensate Ms. Washington for all damages caused by the wrongful conduct of
    5   FedEx Ground, even if Ms. Washington was more susceptible to injury than a
    6   normally healthy person would have been, and even if a normally healthy person
    7   would not have suffered similar injury.
    8   [Source: CACI 3928]
    9                                                  _______     Given
   10                                                  _______     Given as Modified
   11                                                  _______     Withdrawn
   12                                                  _______     Refused
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                                                       United States District Judge

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    1                            JURY INSTRUCTION NO. 14
    2                   AVOIDABLE CONSEQUENCES DOCTRINE
    3          If Ms. Washington proves that FedEx Ground discriminated against her,
    4   FedEx Ground is responsible for Ms. Washington’s harm caused by the
    5   discrimination. However, FedEx Ground claims that Ms. Washington could have
    6   avoided some or all of the harm with reasonable effort. To succeed, FedEx
    7   Ground must prove all of the following:
    8         (1)     That FedEx Ground took reasonable steps to prevent and correct
    9   workplace discrimination;
   10         (2)     That Ms. Washington unreasonably failed to use the preventive and
   11   corrective measures for discrimination that FedEx Ground provided; and
   12         (3)     That the reasonable use of FedEx Ground’s procedures would have
   13   prevented some or all of Ms. Washington’s harm.
   14
              You should consider the reasonableness of Ms. Washington’s actions in
   15
        light of the circumstances facing her at the time, including her ability to report the
   16
        conduct without facing undue risk, expense, or humiliation.
   17
              If you decide that FedEx Ground have proved this claim, you should not
   18
        include in your award of damages the amount of damages that Ms. Washington
   19
        could have reasonably avoided.
   20
        [Source: CACI 2526 (as modified)]
   21
                                                       _______      Given
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                                                       _______      Given as Modified
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                                                       _______      Withdrawn
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                                                       _______      Refused
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   27                                                  United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                           JURY INSTRUCTION NO. 15
    2        ARGUMENTS OF COUNSEL NOT EVIDENCE OF DAMAGES
    3         The arguments of the attorneys are not evidence of damages. Your award
    4   must be based on your reasoned judgment applied to the testimony of the
    5   witnesses and the other evidence that has been admitted during trial.
    6   [Source: CACI 3925]
    7

    8                                                _______        Given
    9                                                _______        Given as Modified
   10                                                _______        Withdrawn
   11                                                _______        Refused
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                                                     United States District Judge
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    1                            JURY INSTRUCTION NO. 16
    2                   DUTY TO MITIGATE (PERSONAL INJURY)
    3         It is the duty of a person who has been injured to use reasonable diligence
    4   in caring for her injuries and reasonable means to prevent their aggravation and to
    5   accomplish healing.
    6           When one does not use reasonable diligence to care for her injuries, and
    7   they are aggravated as a result of this failure, the liability, if any, of another
    8   whose act or omission was a cause of the original injury, must be limited to the
    9   amount of damage that would have been suffered if the injured person herself had
   10   exercised the diligence required of her.
   11         The defendant has the burden of proving by a preponderance of the
   12   evidence all of the facts necessary to establish that the plaintiff failed to mitigate
   13   her damages, namely, that the plaintiff failed to use reasonable diligence in caring
   14   for her injuries or failed to use reasonable means to prevent their aggravation and
   15   accomplish healing; and that this failure was a cause of further injury or harm.
   16         However, an injured person is not required to take a particular action if to
   17   do so would involve an unreasonably great effort, risk, or expense or would be
   18   impractical.
   19         From the mere fact that a competent physician advised an injured person to
   20   submit to a course of treatment or operation, you are not justified in inferring that
   21   the injured person was negligent or unreasonable in declining such treatment or
   22   operation. Other factors that confronted the injured person must be considered in
   23   determining whether, although she refused to follow the physician's advice, she
   24   nevertheless exercised reasonable diligence in caring for herself and her injuries.
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: BAJI 14.67]
    2                                             _______         Given
    3                                             _______         Given as Modified
    4                                             _______         Withdrawn
    5                                             _______         Refused
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    7                                             __________________________
                                                  United States District Judge
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                               JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 17
    2              MITIGATION OF DAMAGES (PERSONAL INJURY)
    3        If you decide that FedEx Ground are responsible for the original harm, Ms.
    4   Washington is not entitled to recover damages for harm that FedEx Ground prove
    5   Ms. Washington could have avoided with reasonable efforts or expenditures.
    6        You should consider the reasonableness of Ms. Washington’s efforts in
    7   light of the circumstances facing her at the time, including her ability to make the
    8   efforts or expenditures without undue risk or hardship.
    9        If Ms. Washington made reasonable efforts to avoid harm, then your award
   10   should include reasonable amounts that she spent for this purpose.
   11   [Source: CACI 3930]
   12                                                _______        Given
   13                                                _______        Given as Modified
   14                                                _______        Withdrawn
   15                                                _______        Refused
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                                                     United States District Judge

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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                               JURY INSTRUCTION NO. 18
    2      AFFIRMATIVE DEFENSE – EMPLOYEE’S DUTY TO MITIGATE
    3                                        DAMAGES
    4         FedEx Ground claims that if Ms. Washington is entitled to any damages,
    5   they should be reduced by the amount that she could have earned from other
    6   employment. To succeed, FedEx Ground must prove all of the following:
    7         (1)     That employment substantially similar to Ms. Washington’s former
    8   job was available to her;
    9         (2)     That Ms. Washington failed to make reasonable efforts to seek this
   10   employment; and
   11         (3)     The amount that Ms. Washington could have earned from this
   12   employment.
   13
              In deciding whether the employment was substantially similar, you should
   14
        consider, among other factors, whether:
   15
              (1)     The nature of the work was different from Ms. Washington’s
   16
        employment with FedEx Ground;
   17
              (2)     The new position was substantially inferior to Ms. Washington’s
   18
        former position;
   19
              (3)     The salary, benefits, and hours of the job were similar to Ms.
   20
        Washington’s former job;
   21
              (4)     The new position required similar skills, background, and
   22
        experience;
   23
              (5)     The job responsibilities were similar; and
   24
              (6)     The job was in the same locality.
   25
           In deciding whether Ms. Washington failed to make reasonable efforts to
   26
        retain comparable employment, you should consider whether Ms. Washington
   27
        quit or was discharged from that employment for a reason within her control.
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                                    JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: CACI 2407]
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    3                                            _______         Given
    4                                            _______         Given as Modified
    5                                            _______         Withdrawn
    6                                            _______         Refused
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                                                 United States District Judge
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                              JOINT PROPOSED JURY INSTRUCTIONS
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    1                           JURY INSTRUCTION NO. 19
    2               EFFECT OF DUTY TO MITIGATE ON DAMAGES
    3         If you find that FedEx Ground met its burden to prove Ms. Washington
    4   could mitigate her damages, then Ms. Washington is not entitled to recover
    5   damages for economic losses that FedEx Ground proved she could have avoided
    6   by returning to gainful employment as soon as it was reasonable for her to do so.
    7
              To calculate the amount of damages you must:
    8
              (1)    Determine the amount Ms. Washington would have earned from the
    9
        job she held at the time she was injured; and
   10
              (2)    Subtract the amount Ms. Washington earned or could have earned by
   11
        returning to gainful employment.
   12

   13         The resulting amount is Ms. Washington’s damages for past lost earnings.
   14         If you find that FedEx Ground met its burden to prove Ms. Washington
   15   could mitigate her damages, then Ms. Washington is also not entitled to recover
   16   damages for future economic losses that FedEx Ground proves she will be able to
   17   avoid by returning to gainful employment as soon as it is reasonable for her to do
   18   so.
   19         If you decide that Ms. Washington will be able to return to work, then you
   20   must not award her any damages for the amount she will be able to earn from
   21   future gainful employment. To calculate the amount of damages you must:
   22         (1) Determine the amount Ms. Washington would have earned from the
   23   job she held at the time she was injured; and
   24         (2) Subtract the amount Ms. Washington is reasonably able to earn from
   25   alternate employment.
   26
              The resulting amount is Ms. Washington’s damages for future lost
   27
        earnings.
   28

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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1   [Source: CACI 3961 & 3962]
    2                                            _______         Given
    3                                            _______         Given as Modified
    4                                            _______         Withdrawn
    5                                            _______         Refused
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                                                 United States District Judge
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                              JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 20
    2                     ATTORNEY FEES AND COURT COSTS
    3         You must not consider, or include as part of any award, attorney fees or
    4   expenses that the parties incurred in bringing or defending this lawsuit.
    5   [Source: CACI 3964]
    6

    7                                                 _______       Given
    8                                                 _______       Given as Modified
    9                                                 _______       Withdrawn
   10                                                 _______       Refused
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                                                      United States District Judge

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                                 JOINT PROPOSED JURY INSTRUCTIONS
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    1                            JURY INSTRUCTION NO. 21
    2                         EXPERT WITNESS TESTIMONY
    3         During the trial you heard testimony from expert witnesses. The law allows
    4   an expert to state opinions about matters in his or her ﬁeld of expertise even if he
    5   or she has not witnessed any of the events involved in the trial. You do not have
    6   to accept an expert’s opinion. As with any other witness, it is up to you to decide
    7   whether you believe the expert’s testimony and choose to use it as a basis for your
    8   decision. You may believe all, part, or none of an expert’s testimony. In deciding
    9   whether to believe an expert’s testimony, you should consider:
   10         (1)    The expert’s training and experience;
   11         (2)    The facts the expert relied on; and
   12         (3)    The reasons for the expert’s opinion.
   13
        [Source: CACI 219]
   14

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                                                     _______        Given
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                                                     _______        Given as Modified
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                                                     _______        Withdrawn
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                                                     _______        Refused
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   21                                                United States District Judge
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                                 JOINT PROPOSED JURY INSTRUCTIONS
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     1                           JURY INSTRUCTION NO. 22
     2              EXPERTS-QUESTIONS CONTAINING ASSUMED FACTS
     3         The law allows expert witnesses to be asked questions that are based on
     4   assumed facts. These are sometimes called “hypothetical questions.” In
     5   determining the weight to give to the expert’s opinion that is based on the
     6   assumed facts, you should consider whether the assumed facts are true.
     7   [Source: CACI 220]
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     9                                               _______        Given
    10                                               _______        Given as Modified
    11                                               _______        Withdrawn
    12                                               _______        Refused
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                                                     United States District Judge

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                                 JOINT PROPOSED JURY INSTRUCTIONS
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     1                                D. CLOSING INSTRUCTIONS
     2                             JURY INSTRUCTION NO. 1
     3                                DUTY TO DELIBERATE
     4         Before you begin your deliberations, elect one member of the jury as your
     5   presiding juror. The presiding juror will preside over the deliberations and serve
     6   as the spokesperson for the jury in court.
     7         You shall diligently strive to reach agreement with all of the other jurors if
     8   you can do so. Your verdict must be unanimous.
     9         Each of you must decide the case for yourself, but you should do so only
    10   after you have considered all of the evidence, discussed it fully with the other
    11   jurors, and listened to their views.
    12         It is important that you attempt to reach a unanimous verdict but, of course,
    13   only if each of you can do so after having made your own conscientious decision.
    14   Do not be unwilling to change your opinion if the discussion persuades you that
    15   you should. But do not come to a decision simply because other jurors think it is
    16   right, or change an honest belief about the weight and effect of the evidence
    17   simply to reach a verdict.
    18   [Source: 9th Cir. 3.1]
    19                                                 _______        Given
    20                                                 _______        Given as Modified
    21                                                 _______        Withdrawn
    22                                                 _______        Refused
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    24                                                 __________________________
                                                       United States District Judge
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                                   JOINT PROPOSED JURY INSTRUCTIONS
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     1                            JURY INSTRUCTION NO. 2
     2     CONSIDERATION OF THE EVIDENCE – CONDUCT OF THE JURY
     3         Because you must base your verdict only on the evidence received in the
     4   case and on these instructions, I remind you that you must not be exposed to any
     5   other information about the case or to the issues it involves. Except for discussing
     6   the case with your fellow jurors during your deliberations:
     7

     8         Do not communicate with anyone in any way and do not let anyone
     9         else communicate with you in any way about the merits of the case or
    10         anything to do with it. This includes discussing the case in person, in
    11         writing, by phone or electronic means, via email, via text messaging,
    12         or any Internet chat room, blog, website or application, including but
    13         not limited to Facebook, YouTube, Twitter, Instagram, LinkedIn,
    14         Snapchat, or any other forms of social media. This applies to
    15         communicating with your family members, your employer, the media
    16         or press, and the people involved in the trial. If you are asked or
    17         approached in any way about your jury service or anything about this
    18         case, you must respond that you have been ordered not to discuss the
    19         matter and to report the contact to the court.
    20

    21         Do not read, watch, or listen to any news or media accounts or
    22         commentary about the case or anything to do with it[, although I have
    23         no information that there will be news reports about this case]; do not
    24         do any research, such as consulting dictionaries, searching the
    25         Internet, or using other reference materials; and do not make any
    26         investigation or in any other way try to learn about the case on your
    27         own. Do not visit or view any place discussed in this case, and do not
    28         use Internet programs or other devices to search for or view any place
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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     1         discussed during the trial. Also, do not do any research about this
     2         case, the law, or the people involved – including the parties, the
     3         witnesses or the lawyers until you have been excused as jurors. If you
     4         happen to read or hear anything touching on this case in the media,
     5         turn away and report it to me as soon as possible.
     6         These rules protect each party’s right to have this case decided only on
     7   evidence that has been presented here in court. Witnesses here in court take an
     8   oath to tell the truth, and the accuracy of their testimony is tested through the trial
     9   process. If you do any research or investigation outside the courtroom, or gain
    10   any information through improper communications, then your verdict may be
    11   influenced by inaccurate, incomplete or misleading information that has not been
    12   tested by the trial process. Each of the parties is entitled to a fair trial by an
    13   impartial jury, and if you decide the case based on information not presented in
    14   court, you will have denied the parties a fair trial. Remember, you have taken an
    15   oath to follow the rules, and it is very important that you follow these rules.
    16         A juror who violates these restrictions jeopardizes the fairness of these
    17   proceedings, and a mistrial could result that would require the entire trial process
    18   to start over]. If any juror is exposed to any outside information, please notify the
    19   court immediately.
    20   [Source: 9th Cir. 3.2]
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    22                                                  _______       Given
    23                                                  _______       Given as Modified
    24                                                  _______       Withdrawn
    25                                                  _______       Refused
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    27                                                  __________________________
                                                        United States District Judge
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                                   JOINT PROPOSED JURY INSTRUCTIONS
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     1                            JURY INSTRUCTION NO. 3
     2                        COMMUNICATION WITH COURT
     3         If it becomes necessary during your deliberations to communicate with me,
     4   you may send a note through the [clerk] [bailiff], signed by any one or more of
     5   you. No member of the jury should ever attempt to communicate with me except
     6   by a signed writing. I will not communicate with any member of the jury on
     7   anything concerning the case except in writing or here in open court. If you send
     8   out a question, I will consult with the lawyers before answering it, which may
     9   take some time. You may continue your deliberations while waiting for the
    10   answer to any question. Remember that you are not to tell anyone – including the
    11   court – how the jury stands, whether in terms of vote count or otherwise, until
    12   after you have reached a unanimous verdict or have been discharged.
    13   [Source: 9th Cir. 3.3]
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    15                                               _______         Given
    16                                               _______         Given as Modified
    17                                               _______         Withdrawn
    18                                               _______         Refused
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    20                                               __________________________
                                                     United States District Judge
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                                  JOINT PROPOSED JURY INSTRUCTIONS
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     1                              JURY INSTRUCTION NO. 4
     2                                RETURN OF VERDICT
     3         A verdict form has been prepared for you. [Explain verdict form as
     4   needed.] After you have reached unanimous agreement on a verdict, your
     5   [presiding juror] [foreperson] should complete the verdict form according to your
     6   deliberations, sign and date it, and advise the [clerk] [bailiff] that you are ready to
     7   return to the courtroom.
     8   [Source: 9th Cir. 3.5]
     9                                                  _______        Given
    10                                                  _______        Given as Modified
    11                                                  _______        Withdrawn
    12                                                  _______        Refused
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                                                        United States District Judge
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     1                                  PROOF OF SERVICE
     2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     3          I am employed in the County of Los Angeles, State of California. I am
         over the age of 18 and not a party to the within action. My business address is
     4   3055 Wilshire Boulevard, Suite 1100, Los Angeles, California 90010.
     5   On June 7, 2021, I served the foregoing document described on the attached Joint
     6   Proposed Jury Instructions

     7   On the interested parties in this action as follows:
     8
               Shaun J. Voigt, Esq.                             Attorney for Defendants
     9         Fisher & Phillips LLP
    10         444 South Flower Street, Suite 1500
               Los Angeles, CA 90071
    11         svoigt@fisherphillips.com
    12

    13          BY CM/ECF: With the Clerk of the United States District Court of
    14   California, using the CM/ECF System. The Court’s CM/ECF System will send
         an e-mail notification of the foregoing filing to the foregoing parties and counsel
    15   of record who are registered with the Court’s CM/ECF System.
    16   Executed on June 7, 2021, at Los Angeles, California.
    17                   FEDERAL I declare that I am employed in the office of a member
                         of the bar of this Court at whose direction the service was made.
    18

    19
         Daniel Friedman                                /s/ Daniel Friedman
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                                            PROOF OF SERVICE
         FP 37988723.1
